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 3
                            UNITED STATES DISTRICT COURT
 4                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
 5
       VENICE PI, LLC,
 6
                             Plaintiff,
 7                                                      C17-0991 TSZ
           v.                                           C17-1074 TSZ
 8                                                      C17-1075 TSZ
       RUSLAN KHILCHENKO, et al.;
 9     CHRISTOPHER COBB;                                MINUTE ORDER
       SCOTT STEELE, et al.,
10
                             Defendants.
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          The following Minute Order is made by direction of the Court, the Honorable
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     Thomas S. Zilly, United States District Judge:
13        (1)     In each of these cases, plaintiff has settled with or voluntarily dismissed its
   claims against most, but not all, defendants. All of the remaining defendants have filed
14 answers, but no counterclaims. Pursuant to Cobbler Nevada, LLC v. Gonzales, 901 F.3d
   1142 (9th Cir. 2018), and Federal Rule of Civil Procedure 41(a)(2), plaintiff’s unopposed
15 motions to dismiss these matters, docket no. 60 in C17-991, docket no. 66 in C17-1074,
   and docket no. 56 in C17-1075, are GRANTED, and the Amended Complaint in each of
16 these actions is DISMISSED without prejudice.

17         (2)   The Clerk is directed to CLOSE these cases and to send a copy of this
     Minute Order to all counsel of record and the remaining pro se parties.
18
           Dated this 11th day of September, 2019.
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20                                                    William M. McCool
                                                      Clerk
21
                                                      s/Karen Dews
22                                                    Deputy Clerk

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     MINUTE ORDER - 1
